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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                     No. 13-036V
                                  Filed: July 2, 2014
                                (Not to be published)
*************************
MARILYN ZOLNOWSKY, as the               *
mother and natural guardian of          *
A.J.B., a minor,                        *
                    Petitioner,         *
       v.                               *      Stipulation; Rotavirus; Intussusception;
                                        *      Medicaid Lien; Attorney’s Fees & Costs
                                        *
SECRETARY OF HEALTH                     *
AND HUMAN SERVICES,                     *
                    Respondent.         *
****************************
Sheila A. Bjorklund, Esq., Lommen Abdo Law Firm, Minneapolis, MN, for petitioner.
Melonie J. McCall, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                               DECISION ON JOINT STIPULATION 1

Gowen, Special Master:

        Marilyn Zolnowsky [“petitioner”] filed a petition as the mother and natural
guardian of A.J.B., a minor, for compensation under the National Vaccine Injury
Compensation Program 2 on January 15, 2013. Petitioner alleges that A.J.B. suffered
intussusception that was caused in fact by the Rotavirus vaccinations she received on
June 2, 2010, and August 4, 2010. See Stipulation, filed June 30, 2014, at ¶¶ 2, 4.
Further, petitioner alleges that A.J.B. experienced residual effects of her injury for more
than six months. Id. at ¶ 4. Respondent denies that the Rotavirus vaccine or any other
vaccine caused A.J.B.’s intussusception or any other injury or her current disabilities.
Id. at ¶ 6.

       Nevertheless, the parties have agreed to settle the case. On June 30, 2014, the
parties filed a joint stipulation agreeing to settle this case and describing the settlement
terms.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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        Respondent agrees to pay petitioner:

            (a) A lump sum of $6,000.00 in the form of a check payable to petitioner,
                Marilyn Zolnowsky as the guardian/conservator of A.J.B.’s estate.
                This amount represents compensation for all damages that would be
                available under § 300aa-15(a), except as set forth in paragraphs (b)
                and (c);

            (b) A lump sum of $350.00 in the form of a check payable to petitioner,
                Marilyn Zolnowsky, for past unreimbursed medical expenses;

            (c) A lump sum of $17,523.13, which amount represents reimbursement
               of a State of South Dakota Medicaid lien, in the form of a check
               payable jointly to petitioner and:


                        South Dakota Department of Social Services, Recoveries and
                                              Investigations
                               South Dakota Department of Social Services
                                   Recoveries and Fraud Investigations
                                           700 Governors Drive
                                    Pierre, South Dakota 57501-2291
                                        Case number:000268881
                                       Attn: Ms. Melanie McDonald

                    Petitioner agrees to endorse this check to the appropriate State
                                             agency; and

            (d) A lump sum of $13,600.00 in the form of a check payable jointly to
                petitioner and petitioner’s attorney, Sheila A. Bjorklund, Esq., for
                attorneys’ fees and costs available under § 300aa-15(e); and, in
                compliance with General Order #9, no out-of-pocket expenses were
                incurred by petitioner in proceeding on the petition.

       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                                s/ Thomas L. Gowen
                                                Thomas L. Gowen
                                                Special Master

3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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